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Reference letter from James Matheny, owner of James Matheny Ventures, General
Contractor.

ADDRESS: 919 Maple Fork Rd, Mt Hope, WV 25880.

PHONE: 304 663 3717

     To whom it may concern:
This is to confirm commendable character of Larry Clay, having known him all his life.
     He was never a problem for his parents but rather most respectable to honor them
greatly. Family was important, he was always available to answer my call if I needed
assistance.
     I remember when he installed my mother's heating and cooling system, being his
aunt. There was no profit for doing it, rather expense incurred of which he gladly
accepted.
      To consider existence itself is to acknowledge God's love. God knew love was
needed to be given and to be shared with others. God created a family in order to do so.
     A persons worth becomes assessed by the access of others who profit from
consistent giving of such a person and family man as Larry Clay.
      The inability of his accepted liability has been result of failure and fault of actions
incurred not to define his true character we vouch for.
     Being in construction all my life I have chosen it as our ministry to help others. I
consider the chances I have been giving from my own guilt and shame that has worked
not as unhonorable but commendable attributes to help prevent repeated occurrences.
     For the betterment of society, resolve, in this case to be considered as an asset,
can be defined by leniency to allow lessons learned to become great stepping stones of
success.
     Hardened criminals are defined by repetitious consistency and deserve justice from
being removed from society.
     Personally, I have known my first cousin his entire life. Larry Clay, I consider, by no
means, should be filed into the atrocity of such description.
     To beseech of thee to honorably consider such an injustice can be confirmed by
defining true justice. This would be reformation we not only vouch for but have great
assurance of being confident it has incurred in his life.
   As God inspires, humbly we acknowledge your honor with this said petition.

            Most sincerely,
    James Matheny, owner and president, James Matheny Ventures.
